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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                           No. CR 03-2072 JB

ANTONIUS MARIA HEIJNEN,

               Defendant.

                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

       THIS MATTER comes before the Court on the United States’Motion and Memorandum

in Support of Property Nexus Findings, filed March 21, 2005 (Doc. 140). The primary issue is

whether the United States has established the required nexus between the property described in the

First Superceding Indictment and the offenses for which the petit jury convicted Defendant Antonius

Maria Heijnen. Based upon the record at the four-day trial held on March 7, 8, 9, and 10, 2005, the

Court grants the United States’motion.

       THE COURT HEREBY FINDS AS FOLLOWS:

       1.      Based upon the evidence in the record, the property named and involved in Counts

Three, Four, Five and Six is subject to forfeiture under 18 U.S.C. § 982(a)(1).

       2.      The United States has established the requisite nexus between the property named and

involved in Counts, Three, Four, Five and Six and the offense charged in each count.

       3.      The property named in Count Three, $35,000, was involved in violation of 18 U.S.C.

§ 1956(a)(1)(A)(i) and 18 U.S.C. § 2.

       4.      The property involved in Count Three, $35,000, constitutes the proceeds of wire
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fraud.

         5.     The property named in Count Four, $5,000 (in the form of a check), was involved in

the violation of 18 U.S.C. § 1956(a)(1)(A)(i) and 18 U.S.C. § 2.

         6.     The property named in Count Four, $5,000 (in the form of a check), constitutes the

proceeds of wire fraud.

         7.     The property named in Count Five, $6,000 (in the form of a check), was involved in

the violation of 18 U.S.C. § 1956(a)(1)(A)(i) and 18 U.S.C. § 2.

         8.     The property involved in Count Five, $6,000 (in the form of a check), constitutes the

proceeds of wire fraud.

         9.     The property named and involved in Count Six, $150,000, was criminally derived from

wire fraud. As such, the $150,000 constitutes the proceeds of wire fraud.

         10.    The property involved in Count Six, $150,000, was involved in a monetary transaction

by, through, or to financial institution, affecting interstate and foreign commerce, in criminally derived

property of a value greater than $10,000, in violation of 18 U.S.C. § 1957 and 18 U.S.C. § 2.


                                                         _____________________________________
                                                         UNITED STATES DISTRICT JUDGE

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